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United States Cours
Southern District of Texas
FILED
IN THE UNITED STATES DISTRICI COURT
FOR THE SOUTHERN DISTRICT OF TEXAS JUL 17 2023,

Nathan Ochsner, Clerk of Court

United States Of America Case No. 4:92 - CR-00270
Plaintiff Judge Ewing Werlein Jr.
Ve
‘Julio Cesar Gutierrez-Jaramillo Reply to Government's Response in
opposition to Petitioner's Motion
Defendant for Reduction of Sentence Under

U.SeC. (C)(1)(A)

Comes now, Julio Cesar Gutierrez~Jaramillo, here in after "Petitioner", acting
Pro Se, and respectfully submits his reply to the government's argument in opposition
to his motion for Compassionate Release Under 18 U.S.C. 3582 (G)(1)(Ad. This reply
is primarly interided to correct certain factual prevarication's offered by the

governnent, in an effort to mislead this Honourable Court's inquiry.
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Rebuttal Argument -
1) The Govermment"s misstatement of facts:

The Government disingenuously attempts to mislead this Court's analysis by
regurgitating and conwluting certain facts on defendent'\$ request motion.
Petitioner never contended, as the Goverment seems to suggest, that defendant's
pursuant of relief, is under medical condition of the defendant (U.S.S.G §1B1L13,
commentary application note 1(A). On the contrary he is fully aware of the .-:.
difference between medical and non-medical criterias. Mr. Gutierrez-Jaramillo is
seeking his remedy as waszrevisionedand amended by the First Step Act of 2018
under the U.S.S.G § 1B1,113, commentary application note 1(B)(Age of the Defendant) ;
and in addition with the non-medical circumstances of other elderly --inmates of:
the Federal Bureau of Prison's Program Statement NO. 5050-50, Section of (C).

(A) Age of the defendant --- The defendant (1) is at least 65 years old; (ii) is
experiencing a serious deterioration in physical or mental health because of the
aging process; and (iii) has served at least 10 years or 75 percent of his or her
term of imprisonment, whichever is less.

Government in their response, at least conceded that the petitioner iis over 70
years and las served 754 of his sentence. ~-- see Govt's response page 3, paragraph
5. The only bone of contention here is in the part of him "experiencing a serious
deterioration in physical or.mental.health because of the aging process. Which the
government thought otherwise. The key phrase in that sentence is "serious
deterioration", which the government is substituting for "debilitated medical
condition", either conscious or unconsciously, thus, subverting the true meaning of
the sentencing commission's lamguage. These two key phrases are no where close to
the same meaning, whichever way you look at it.

Black's Law Dictionary (Tenth Edition)
Serious --- 1) (of conduct, opinions, etc.) weighty; important < serious: .

violation of rules >. 2) (of an injury, ‘illness, accident, etc.) dangerous;

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Case 4:92-cr-00270 Document 584 Filed on 07/17/23 in TXSD Page 3 of 23

potentially resulting in death or other sever consequences <serious bodily harm>

Merriam-- Webster's Collegiate Dictionary (Eleventh Edition)

Deteriorate -- (Late-Latin, deterioratus, ppli of deteriorare, from Latin deterior
-- worse) vb 1) to make inferior in quality or value: IMPAIR 2) Disintegrate H-
vi: to become impaired in quality, functioning or condition: DEGENERATE <a llowed

a tradition of academic excellence to --><his health deteriorated> -- deteriorate,
Adj.

Deterioration -- pn, (ca. 1658): the action or process of deteriorating: the state
of having deteriorated.

Now, is either the undersigner for the government is purposely trying to
obsfuscate and distort, the important facts tabled by the petitioner in his -:
compassionate release request to the court or her comprehension of English grammar,
is in question. The language used by the commission in U.S.S.G. §1B1i113, cmt. n.

1(B)(ii) is as clear as day can be.

2) Government's insuniation:

The government's mis-characterization of Warden N.T. Mckinney's delayed answer to
the defendants compassionate release request, is at it's best, disingenous . As a
matter of fact, the warden responded within eleven (11) days of Mr. Gutierrez-
Jaramillo's filing of his request. His request was filed on February 2, 2023, while
the warden favourable responded on February 13, 2023 to her internal staff (the
petitioner's Case Manager). The defendant was never aware, notified or given the
chance to preview it, prior to the filing of this current compassionate release
request to: this Honourable Court. -- see exhibit H (Warden N.T. McKinney's —.: .
response).

In this Warden N.T. McKinney's response (Exhibit 4), states “"based upon a review
of all of the factors listed above, I find that you meet the criteria outlined in

the Program Statement. You are currently 71 years of age, sentenced on July 16, -

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2010, have been incarcerated for approximately 13 years or 75% of your term of
imprisonment, and Have an established release plan in your Country of origin J. .+
Colombia. This office concurs there are "extraordinary or cempelling circumstances"
as reqiired by the statute to recommend the Bureau ma&e a motion before your <jr
sentencing court seeking a reduction in sentence". ~

‘The government interpretation of Warden Mckinny's intention, is clearly lacking
in candor. Equating her, with her predecessor, is very affront. Governement is
trying to take advantage of an ill-prepared Compassionate Release request of April
20, 2020 which then, Warden T. Jusino adjudicated, to obfiscate this current ~ecu:.
request. .

As this defendant had opindned previously that, if BOP (Warden T. Jusino) had
done her job as was required by the First Step Act (2018), to notify the petitioner
of his proper qualification or eligibility under section 3582 (C)(1)(A), citing
U.S.S.G § 1biJ/13, cmt. note. 1(D) (other reasons) through the FBOP program
Statement 5050-50 (January 17th, 2019), Section 4(C) of the non-medical circumstance
of other elderly inmates. Assisted him in it's correct provision preparation,
drafting and submission of his request, as this current Warden (N.T. McKinney) had
just did. Mr. Gutierrez-Jaramillo, would ve been home with his loved ones by now,
since two years ago. -- see Pub. L. No. 115-391, §603(b), 132 stat. 5194, 5239-41
(2018) (amending 18 U.S.C. §3582); United States v Bryant, 996 F. 3d 1243 (11th Cir
May 7th, 2021).

As the government had already defined "debiliated . medical conditions" as being
completely disabled. -- see Govt. Res. Pg. 10, para. 16. While "serious .
deterioration is on the opposite fence according to the dictionaryl| The phrase,
ser ious deterioration, is having important or dangerously possible of becoming worse
or less value. In other words, Julio Cesar Gutierrez-Jaramillo is experiencing a
dangerous possibility of becoming worse or less in value ‘in physical -or mental

health due to his aging process. In a laymm™m term, means ,that his health condition

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is getting worse as years progresses because of his chronic medical conditions, of
which the government has already concurred with. -- see Govt. Res. Pg. 9, paragraph
15; Gutierrez-Jaramillo!'S medical record.

This petitioner had NEVER opinied or intoned his relief request of being in
debilitated medical condition or was he seeking his reliefrbaseon medical condition
rather the petitioner was pointing out, his chronic medical conditions, that are
getting worse due to hisage the U.S.S.G. § ibilJ13, cmt. n. 1(B) provision demands.
This particular provision by the sentencing commission does not demand for the
applicant or inmate to be completely disable, cannot carry on any self-care, to be
totally confined to a bed or chair, only capable of limited self-care or confined
to a bed or chair more than 50% of waking hours, as the government is asserting tin
their response. Rather the provision, demands the opposite to meet its criterias or
eligibilites. Once, the health deterioration is occurring or becoming worse due to
the application's age. It does not matter if the applicant came into the BOP with
his condition(s). And he is,at least 65 years old and had served at least 10 years
or 75% of his sentence. Then, he is eligible or entitled to a remedy through this
‘provision, period. Just like Mr. Gutierrez-Jaramillo. --.ske United States v Bryant
996 F. 3d 1243 (11th Cir. May 7th, 2021) (The new second category -- "age of the
defendant" -- explains that deterioration due to age is extraordinary and -
compelling even if it does not diminish the ability fa self-care as long as the
defendant is at least 65 years old andhas served the lesser of 10 years or 75%.0f

his sentence}.

3) Govermnent"s Obsurantism:.

Did this Undersigner for the government really think that the defendant started
doing his time in the United State's soil or is she acting ignorant of the fact?
_ AUSA Sullivan requested additional 30 days on May 4, 2023 to study and file a.
response to the petitioner's motion, and of which, it was granted. Most of her

arguments to this current petitioner's request was generated from her predecessor's

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response brief of April 23, 2020. There is no way of not seeing or reading Mr.
Robert Stabe acknowledgement of the said fact. -- see April 23, 2020. Govt. Res.
Pg. 6, para. 13 (In addition, the court did give the defendant credit for the time
he spent in custody in Peru. The defendant argued for such a departure at the time
of sentencing and the United States conceded that the BOP probably would not give
the defendant credit for the time spent in a jail in Peru. The court specifically
departed downward 82 months from a sentence of 292 months to 210 months to allow
for time spent iby the defendant in custody jin Peru).

The defendant wasn't experiencing any known illness or chronic medical conditions
prior to entering into United States custody on this conviction, as government had
just asserted in their brief. -- see Govt. Res. Pe. 9, para. 15. Request for the
defendant's arrestation for this indictment was male as early as November 29, 1995
through the INTERPOL WASHINGTON to the Peruvian Government. -- see Exhibit F. And
on December 27, 1995 ,the defendant was arrested. see Exhibit G. It was only when .
this petitioner was in the Peruvian's custody on behalf of the United States - . 2:
request, do they hit him with a different charge of trafficking drugs in their own
CountylJ He was convicted and sentenced to 15 years, of which he did finish by doing
7 plus years as their law demands. He was supposedly to be set-free on October 2,
2002. -- see Exhibit i (freedom release paper). The United States starts processing
an urgent extradition order to the Peruvian government on the day of the defendanti§"
release. -- see Exhibit J ( Extradition Order Request). And it was granted on
October 10, 2002. -- see Exhibit K (Extradition Assurance Document). Mr. Gutierrez-
Jaramillo was under the United States Oversea's (Peru) custody from 2002 ‘to _
December 23, 2009 pending extradition to the United States Prison. On that seven
(7) years he was in Peruvian prison on behalf of the United States. That's when
may of his chronic medical conditions developed, because of poor prison condition

in those kind of Countries. AUSA Sullivan acting unaware and asserting these false

narrative of the defendant entering BOP custody with those medical conditions, is
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just purpostrous and absurd.
4) Government's Outrageous Request:

The government asking this Honourable Court to deny this petitioner's relief
solely based on him being an "international drug trafficker" fis redicilously
unreasonable. This line of there argument is misleading in the sense, that it
overlooks the mechanism already provided by the Sentencing Guidelines for -
considering drug trafficking offense conduct through the rubric of U.5.5.G.
§2D1|!1. -- see United States v. Ayala, 540 F. Supp 2d 676, 679 [W.D. Va. 2008]
("To do as the government suggests, would doubly penalize [Petitioner] for his
[drug trafficking]. Absent any evidence that the [sentencing guidelines] uniquely
fail to reflect his actual....danger to the public", petitioner's underlying drug
trafficking should not "bar reduction in sentence"). Petitioner's sentence already
reflects the seriousness of his drug trafficking offense. -- see May 30, 2020,
Judge Fwing Werlein, Jr's Order, Pg. 6. (At sentencing, after deducting three
_levels for acceptance of responsibility, Defendant's total offense level was 40 and
his Griminal History Category was 1, with a Guideline range that recommended a
sentence from 292 months to 365 months. The Court at sentencing granted defendant's
motion for a downward departure from the correctly determined Guideline range
BASED on defendant's argument at that time, that he had been detained in Peruvian
prism for an extended period of time at the request of the United States. The
Court thus male a downward departure of 82 months from the minimum sentence
recommended for offense level 40, Criminal History Category 1, specifically to
give credit for the Peruvian detention, and sentenced defendant to only 210 months
m each count to run concurrently).

As the defendant has noted, his sentence already reflects the seriousness of his
offense. The sentencing commission amended §2D1i1 of the Sentencing Guidelines
with the enactment of Amendment 782 and male it retroactive. Which is the driving

force of this honourable sentencing determination in this, and every other drug
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case(s), to ameliorate what mmy have perceived as overly punitive sentencing for
drug offenses.
The government's opposition is nothing but bitter hyperbole and vicarious .

disagreement with the sentencing commision's enactment of Amendment 782.

Conclusion
For these reasons Mr. Julio Cesar Gutierrez-Jaramillo humbly requests that this
honourable court ignore the government's opposition response in this matter and
grant him the relief he had requested in his motion for Compassionate Release

under U.S.S.G. §3582 (C)(1)(A).

Respectfully submitted this 7 day of July, 2023.

Lo lonor.

TJ ZO

ulio Cesar~Gutierrez-Jaramillo
FCL Victorville #1
P.O Box 3725
Adelanto, CA 92301
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CERTIFICATE OF SERVICE

This is to certify a true and correct copy of defendant Julio Cesar Gutierrez-
Jaramil 1ajs Compassionate Release brief is mailed on this -~ day of July, 2023, to the
clerk of the court for filing. Please do notify and send copies to all parties who have

vested interest in this matter and also, are indicated on the electronic filing.

Petitioner, Pro Se

lio Cesat-Gutierrez—Jaramillo
CI Victorville Medium #1

.O. Box 3725

Adelanto, CA 92301
ot a Case 4:92-cr-00270 PON eA Page 10 of 23

Inmate Name: GUTIERREZ-JARAMILLO, Julio Cesar
Register No.: 99455-179
Unit: 5 GP

This is in response to a Request for Compassionate Release/Reduction
in Sentence, based on the criteria for Other Elderly Inmates.
Specifically, the request is based on Program Statement 5050.50,
Compassionate Release/Reduction in Sentence: Procedures for
Implemenatation of 18 U.S.C. §§ 3582 and 4205(q).

Title 18 of the United States Code, section 3582(c) (1) (A), allows a
sentencing court, on motion of the Director of the Bureau of Prisons
(BOP), to reduce a term of imprisonment for extraordinary or
compelling reasons. BOP Program Statement 5050.50, Compassionate
Release/Reduction in Sentence: Procedures for Implementation of 18
U.S.C. §§ 3582(c) (1) (A) and 4205(g), provides guidance on the types
of circumstances that present extraordinary or compelling reasons,
such as the inmate’s terminal medical condition; debilitated medical
condition; status as a “new law” elderly inmate, an elderly inmate
with medical conditions, or an “other elderly inmate”; the death or
incapacitation of the family member caregiver of the inmate’s child;
or the incapacitation of the inmate’s spouse or registered partner.
Your request has been evaluated consistent with the general guidance.

A review of your circumstance indicates you were sentenced to a 210-
month sentence with a 5 year term of supervision for Conspiracy to
Import more than 5 kilograms of Cocaine and Importation of more than
5 kilograms of Cocaine, Aiding and Abetting. You currently have a
projected release date of February 21, 2025 via Good Conduct Time
Release. Presently, you have a detainer with Immigration and Customs
Enforcement due to your citizenship to Colombia. All detainers and
holds should be resolved prior to the Warden's submission of a case
under 18 U.S.C. 3582(1) (A) or 4205(g). Due to your release plan of
residing in Colombia, you are not required to resolve the detainer.

Section 4 of the aforementioned Program Statement states, “4.
REQUESTS BASED ON NON-MEDICAL CIRCUMSTANCES - ELDERLY INMATES

The criteria for a RIS request may include the following:
c. Other Elderly Inmates. Inmates age 65 or older who have served

the greater of 10 years or 75% of the term of imprisonment to which
the inmate was sentenced.
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Based upon a review of all of the factors listed above, I find that
you meet the criteria outlined in the Program Statement. You are
currently 71 years of age, sentenced on July 16, 2010, have been
incarcerated for approximately 13 years or 75% of your term of
imprisonment, and have an established release plan in your country of
origin, Colombia. This office concurs there are “extraordinary or
compelling circumstances” as required by the statute to recommend the
Bureau make a motion before your sentencing court seeking a Reduction
in Sentence,

. ;

Your request for Compassionate Release/Reduction in Sentence is
approved at this level. FCC Victorville will proceed with the
process to submit your request and our concurrence for Compassionate
Release/Reduction in Sentence to the Office of General Counsel. Our
concurrence is not a final approval for Compassionate
Release/Reduction in Sentence, please do not take this as such.

I trust this addresses your concerns.

ee 2113 [axe
ney, Warden ate

. p epee 4:92-cr-00270 Erie met i#TXSD Page 12 of 23

GALLAO FOURTH CRIMINAL COURT
Callao, October 2, 2002

Official Gommunication No. 2002-03314-4JPCP
Legal Specialist: Alex Carbajal

_To the Director of Pénitentiary Registry
Callao

Dear Sir:.

Please be so kind as to issue instructions to proceed with the

IMMEDIATE RELEASE of JULIO CESAR GUTIERREZ-JARAMILLO, pursuant
to the court ruling that this declared as GRANTED For. the benefit -

of Limited Freedom in the conviction for the offeiisé of illicit

drug trafficking to the detriment of the State, while having

an obligation of advising you that the beneficiary of the limited

freedém would have to cotiply with the following rules bf conduct:

a) The beneficiary must sleep over in:a residence that is subject

to the control and inspection by the penitentiary authority.

b} He must not commit atly new serious offense. c) He must not

change his placé of tesidence: Without the consent of the penitentiary

authority. d) He must report every thirty days to sign the control

book. This order shall be fully complied with at all times, unless

some other detention order has been issued by a competent authority.
The cause is derived from the TID Penal Hall (746-96. Sec.

Javier Zapara Garcia Rosell, Supreme Executory 746-96), presently

the Benefit is assigned to Dr, Cruz Ramos 2001-003314.

Very truly,
MAY GOD BE WITH YOU
Signature
ve Gase 4:92-cr-00270

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Callao, 02 de Octutl

OFICIO NRO. 2002-03314-4/Pc
Esp. Legal: Alex Carbajal

SENOR:
DIRECTOR DEL REGISTRO PENITENCIARIO

Presente .-

Tengo el agrado de dirigirme a Ud. a fin de
que se sirva disponer lo conveniente para proceder a la
INMEDIATA LIBERTAD de JULIO CESAR GUTIERREZ
JARAMILLO, por haberlo asf ordenado mi Despacho, al

. haberse declarado PROCEDENTE el Beneficio de Semi

- Libertad, recafda en la causa que se le siguiera por el delito
de Trafico llicito de Drogas en agravio del Estado,
-debiéndose poner en su conocimiento que deberd de cumplir
las siguientes reglas de conducia: &) El beneficiado deberd
de pernoctar en su domicéilio estando sujeto al control 6
inspeccion -de la autoridad penitenciario .- b)No Cometer
nuevos delitos dolosos.- c) No variar de domicilio sin
consentimiento de la autoridad penitenciario .- d) Concurrir
cada treinta dias a fin de firmar el libro de control respectivo;
Orden que se cumplira siempre y cuando no exista otra
orden de detencién emanada de autoridad competente .-

La causa proviene de la Sala Penal de TID.
(746-96. Sec. Javier Zapata Garcia Rosell, Ejecutoria
Suprema 746-96), actualmente el Beneficio asignado ala
Doctira Cruz Ramos 2002-03314.

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Aprovecho en) para reiterarle mis

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; inves
gMENT oO, . &
Embassy of the United States of A the rica

Lima, Peru

Director Eder Martinez Gercia
Penal de Caliao
(Fax: 453-2112}

‘Denise A, Reland
Consu:

4 de aectubre, 2002

URGENTE: Extradicion de Julio Cesar
Gutierrez Jaramillo

Doce Cincluyandoe esta hnoja}

Director Martinez:
OS scuerde: cts converte) ST PRSON IT TTC ES sol BT SUPT FEET SE
Mattos, le envio 1s evidencia que inchica que Julio Cesar
Gutierrez es Sujets de ung Solicitud de extrerdicien apreboda por
las 4utoridades jucicdales PervAnas., “Fl Ministerio de Relaciones
-Exteriores ha acus

Sado recinpn de la nota diplomatica secieute de
weSta-—-Emba jada, Freiterande el

interés del Gobierno de Estados
Hnides en extraditer a Sr, Gucierrez, as! ce” acverdo con e]
‘tratado de éxtradicioén. enter

© los does paines,
- Pesolucién Suprema achpumtis,

“PE cumple con la

Estoy por comunicarme Cun le Presidencia del INPE también, come
me.sugirié a) Subdirectar, ,
Case 4:92-cr-
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eal of the Department
of State of the

United States of America ' Embassy of the United States of
. America.
[4 Lima, Peru

To: ‘Director Edor Martinez Garcia

Penal de Callao .
( Fax: 453-2112)

From: Denise A. Boland
Consul
Date: . ' October 4th 2002
Re: oo Urgent. extradition of Julio Cesar Gutierrez
Jaramiilo
No. of pages: 12 ( including this sheet )

Dicector Martinez:

According to what we talked about a few minuters ago with subdirector Mattos,
t'n sending you the evidence that indicates Julio cesar Gutierrez Jaramillo
is subject of an extradition approved by the Peruvian Judicial Authorities.

< the ministry of foreign relations has acknowledged reciept of the recent di-
plomatic note from this embassy, reiterating the interest of the United Sta-
tes to extradite mr. Gutierrez, as such, and in accord with the extradition
treaty between the two countries, it complies with the attached Supreme Res=
elution.
{'m aboyt!tto communicate with the president of INPE too, as suggested by the
subdirector. ~

very atentively,

Denise Botand
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_Case 4:92-cr-00270 Document 584 Filed on 07/17/23 in TXSD PaO Gani 25 fx -

; Re

The Embassy understands from recent exchanges with Peruvia:

executive branch officials.that Gutierrez Jaramilic's

release may be imminent given his apparent eligibility for

' The Embassy therefore requests that the Ministry inform the .

a reduction in sentence: SEM! beled yer

Peruvian judicial authorities thar the U.S. Government
maintains its interest in extradicting Gutierrez Jaramillo,
and anticipates that the fugitive will remain incarcerated AHwgr

unen cempletion of his present sentence while- arrangements

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PAE <2 conga Soe DAY LOc8

ave mede to coordinate the prisoner's transfer tc the

United States in the company of Meee. pete aieher

4 ‘

The Empasay of the Unjted Srates of America takes this
opportunity to renew toa the Ministry of Fereign Relations
of the Republic of Peru the assurances cf its highest

consideration.

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Embassy of the United ftates cf America,

Lima, May 30, 2¢7%2

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United States of America preaente

tb compliments &6 the Ministry of Foreign Relations of the

bapobl ic ef Para and hag the honor ro refer to the
-3/ 184, dated June 11, 2002, the

: “phe Embagey of the

alate Nore No. (LEG) 6
foté No. 47s, dated May 30, 2002, and the

snbaeey'® N

sister's Note No. §-3/02 of Janwary 13, 1997. . The

bass respectfully wishes tO express i its concerns sO
it

relating to the ee

sregardina TeCens developments
d-States of Ameri

the dovernment of the Unite

prequest of
Julio cesar Guiiercez Jaramillo on

ok Colombian citizen
grcotica trafficking charges

Wote No, 6-3/03 notified tae Embassy -

So The Mindstry's
of the Republic of peru had granted the

I at the Government 0
rest for Gutierrez garamiilo by means of
9-96-dUS, dated December 4, 1996,
to the peruvian Suprese Court

the Not be further dnformed the >

i tradition rege
| ‘suprene Resolution No. 23
| tesvhich reference was thade
1 Betision mf August 18, 1996.
“Magev that ube surrender OF

renolution of local
] data tha comnlation of any imposed sentence, ae _, oes ~ a,

—— “8
the fugitive was postponed _ : “

naroitics crafficking charges

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»  DIKEL Wesel wed rMUNG NJ. > Oct. 19 2602 14:15" -

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In Note No, (LEG) 6-3/183, the Ministry acknowledged
yeceipt Of Note No,.475 and assured the Embassy that it had
nach tranemitted to “the National Directorate of Justice at
che Minkatxy of Justice in order to be relayed to the
deyavian judicial authorities. -

Therefore, the Embassy wag surprised and concerned to

_dnarn from a Paryvian official: on October 4, 2002 that,

‘Goapite the existence of a Suprene Resolution granting the

extradition, the release of Gutierrez. Jaramillo dn

-compliande with a lower court order:could occur chat. very
afternoon. Only after a lengthy series of exchanges
between Embassy officials and Peruvian officials at ficlals at the

Ministries of distice and Foreign Relz ations, Nationa)

Fenitenclary Institute (INPE) and Interpol did the Rmbassy

- TaCaive explicit assurances frei the Peruvian authorities -

as

that the fugitive would remein incarcerated through the

biel

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ot : " ELO vate ro a
4 me The 2 Bes i regete [yy
% ORs Enbasgy nonetheless wighee’ to express its PL arioned LJ fm
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pease of Gutierrez: Jaramillo was. signed in contravention

of peruvian judicial procedures: sib, oblige ‘the court to - yk

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bupreme Resolus ion, take the : hecessazy measures to ensure
that cutierre? Jaramillo nepali’ “ncatcerated, pending his

extradition to the United states. “the Enbassy further
' yequests to be advised in advance of the date on whioh the

fugitive ib eligible tor release, so that the Bnbassy may

coordinate his transfer to the. United States with the U8.
Faderzl Marshale who will acdotipany the prisoner and with

local law enforcement authoritdes,

Tha Embasey of the United sates takes this
opportunity to renew to the Minigery of Foreign Relations
of the Republic of Peru the apgurances: ‘of-its highest

congideration.

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No. 475

so The Embassy of the United States of America presents
its compliments to the Ministry of Foreign Relations of the
Republic of Peru and has the honor to refer to the
Ministry's note number 6-3/03, dated January 13, 1997, in
which the Ministry advised the Embaesy of the Supreme

Court's dceisien te grant the excradition of Colombian

“op citizen Julio Cesar Gutierrez Jaramillo, for the crime of

narcotics trafficking.
‘The Ministry's Note referred to Supreme Court
Resolution No. 239-96-JUS, which was.remitted by the

Peruvian Ministry of Justice to the Ministry of Foreign
eve-7U8S/DNI-DICAI,

239-96-JUS

Relations under official memorandum no

dated January 7, 1997. Supreme k solution ke.
1ve6 decision to

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~ refers to the Supreme Court's August la,
grant the U.S. Government's extradition request for

Gutierrez Jaramillo.

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The Embassy wishes to respecrfeu:
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g¢93, further informed the

that the Ministry's Note, Wo. &-

Embassy that the surrender of the fugitive wo U.
enforcement authorities had heen sugspendes umcil the
resolution of local narcstics traffichine cherees (case

7 number 14-86) and the cempletion ef eny ivposed sentence.

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